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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

     UNITED STATES OF AMERICA

     v.                    Case No. 8:11-cr-323-T-17TBM

     BRIAN C. WEILER

                      FORFEITURE MONEY JUDGMENT AND
             PRELIMINARY ORDER OF FORFEITURE FOR DIRECT ASSET

            THIS CAUSE comes before the Court upon the United States of America's

     Motion for:

            (1)    A Forfeiture Money Judgment in the amount of $274,400.00; and

            (2)    A Preliminary Order of Forfeiture for the defendant’s State
                   Professional License Number PS19949.

            Being fully advised of the relevant facts, the Court hereby finds that

     $274,400.00 was obtained from the drug trafficking conspiracy charged in Count

     One to which the defendant was found guilty.

            The Court further finds that the defendant’s State Professional License

     facilitated the drug trafficking conspiracy.

            Accordingly, it is hereby:

            ORDERED, ADJUDGED, and DECREED that for good cause shown, the

     United States’ motion is GRANTED.

            It is FURTHER ORDERED that, pursuant to 21 U.S.C. § 853 and Rule

     32.2(b)(2) of the Federal Rules of Criminal Procedure, the defendant shall be held

     jointly and severally liable with co-defendants Retsidistswe Griffith, Treshena
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     Dixon, and any subsequently convicted co-conspirators for a forfeiture money

     judgment in the amount of $274,400.00.

            It is FURTHER ORDERED that, pursuant to 21 U.S.C. § 853 and Rule

     32.2(b)(2), the defendant’s professional license identified above is hereby forfeited

     to the United States for disposition according to law.

            It is FURTHER ORDERED that this order shall become a final order of

     forfeiture as to the defendant at sentencing.

           The Court retains jurisdiction to address any third party claim that may be

     asserted in these proceedings, to enter any further order necessary for the

     forfeiture and disposition of such property, and to order any substitute asset

     forfeited to the United States up to the amount of the forfeiture money judgment.

            DONE and ORDERED in Tampa, Florida, this           jS y g - i?    day of

       fWfytCIf-               2015.




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     Counsel of Record
